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                                          EXHIBIT R

                           CONFIDENTIAL
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Horan, Tracy

From:                 Ash Is God <msashleyjt@gmail.com>
Sent:                 Monday, January 1, 2024 11:29 PM
To:                   Horan, Tracy
Cc:                   Carone, Cory M.; Olson, Wendy J.; Watkins, Elijah M.
Subject:              Re: Scofield v. Guillard [SR-ACTIVE.FID5555034]




All,

I was on christmas vacation when this message came through. I will look over the docket and get back to you by the end of the
week.

Thanks,

Ashley Guillard

On Wed, Dec 20, 2023 at 11:10 AM Horan, Tracy <tracy.horan@stoel.com> wrote:

 Ms. Guillard,




 Attached is a letter dated December 20, 2023, from Wendy Olson.



 Thank you,



 Tracy Horan | Practice Assistant
 STOEL RIVES LLP | 101 S. Capitol Boulevard, Suite 1900 | Boise, ID 83702
 Direct: (208) 387-4262
 tracy.horan@stoel.com | www.stoel.com




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